               Case 8:17-cv-02223-DOC-KES Document 54 Filed 08/13/18 Page 1 of 14 Page ID #:446


                 SINGH, SINGH & TRAUBEN, LLP
           1
                 DAL SINGH (SBN: 261587)
           2       dsingh@singhtraubenlaw.com
                 MICHAEL A. TRAUBEN (SBN: 277557)
           3       mtrauben@singhtraubenlaw.com
                 400 S. Beverly Drive, Suite 240
           4     Beverly Hills, California 90212
                 Tel: 310.856.9705 | Fax: 888.734.3555
           5

           6     Attorneys for Plaintiff MISS GLOBAL ORGANIZATION LLC
                 and Plaintiff/Counter-Defendant VAN PHAM
           7
                                          UNITED STATES DISTRICT COURT
           8
                                         CENTRAL DISTRICT OF CALIFORNIA
           9
                 MISS GLOBAL ORGANIZATION,             )    Case No. 8:17-cv-2223 DOC (KESx)
       10                                              )
                 LLC, a California limited liability
                                                       )
       11        company and VAN PHAM, an                   The Honorable David O. Carter
                                                       )
                 individual,                           )    Courtroom 9D
       12
                                                       )
       13                     Plaintiffs,              )    PLAINTIFF AND COUNTER-
                                                       )    DEFENDANT VAN PHAM’S REPLY IN
       14                                              )
                       v.                                   SUPPORT OF MOTION TO DISMISS
                                                       )
       15                                                   THE FIRST AMENDED
                                                       )
                 SOKHUNTEA MAK, a/k/a TEA              )    COUNTERCLAIM FILED BY
       16
                 MAK, an individual; SCOTT WARE, )          DEFENDANT / COUNTERCLAIMANT
       17        an individual, and DOES 1 through 10, )    SOKHUNTEA MAK [DE 50] OR, IN THE
                                                       )    ALTERNATIVE, TO DISMISS
       18                                              )
                               Defendants.                  COUNTERCLAIMANT’S REQUEST FOR
       19        ____________________________________ )     STATUTORY DAMAGES, PUNITIVE
                 MISS GLOBAL ORGANIZATION, )                DAMAGES AND ATTORNEYS’ FEES;
       20                                              )
                 LLC, a California limited liability   )    MEMORANDUM OF POINTS AND
       21        company and SOKHUNTEA MAK, as )            AUTHORITIES IN SUPPORT THEREOF
                 known as TEA MAK, an individual; )
       22
                                                       )    Hearing Date:       August 27, 2018
       23
                              Counter-Claimants,       )
                                                            Hearing Time:       8:30 a.m.
                                                       )
       24              v.                              )    Location:           Courtroom 9D
                                                       )                        Santa Ana
       25        VAN PHAM, an individual, and DOES)
                 1 through 10,                         )    COMPLAINT FILED: December 20, 2017
       26
                                                       )    TRIAL DATE:      July 23, 2019
       27                     Counter-Defendant.       )
                                                       )
       28                                              )
Singh,
Singh &                                                        1
Trauben,                 COUNTER-DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COUNTERCLAIM
LLP
                                                                       CIVIL ACTION NO. 8:17-cv-2223 DOC (KESx)
       Case 8:17-cv-02223-DOC-KES Document 54 Filed 08/13/18 Page 2 of 14 Page ID #:447


      1                                             TABLE OF CONTENTS
      2
           I.      INTRODUCTION .................................................................................................. 1
      3

      4    II.     MAK CONCEDES THAT PHAM IS AN OWNER OF MGO AND THAT
                   PHAM CAN LAWFULLY USE THE MGO LOGO ON BEHALF OF AND
      5            FOR THE BENEFIT OF THE COMPANY .......................................................... 2
      6
           III.    MAK’S OPPOSITION AGAIN RELIES UPON WHOLLY CONCLUSORY
      7            LABELS AND FORMULAIC RECITATIONS ................................................... 4
      8
           IV.     MAK’S OPPOSITION CONFIRMS THAT THE ENTIRETY OF MAK’S
      9            “COPYRIGHT INFRINGEMENT” CLAIM IS CATEGORICALLY BARRED
     10            BY THE THREE-YEAR STATUTE OF LIMITATIONS .................................... 4
     11    V.      MAK NEITHER REBUTS NOR ADDRESSES THE ARGUMENT THAT MAK
     12            IS PROHIBITED FROM RECOVERING STATUTORY DAMAGES OR
                   ATTORNEY’S FEES ............................................................................................. 8
     13

     14    VI.     MAK SHOULD NOT BE GRANTED LEAVE TO AMEND .............................. 9
     15    VII. CONCLUSION..................................................................................................... 10
     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

     26

     27

     28
SINGH,
SINGH &
TRAUBEN,                                                     i of iii
LLP
                                               TABLE OF CONTENTS AND AUTHORITIES
       Case 8:17-cv-02223-DOC-KES Document 54 Filed 08/13/18 Page 3 of 14 Page ID #:448


      1                                          TABLE OF AUTHORITIES
      2
           FEDERAL CASES
      3

      4    U.S. Supreme Court

      5    Ashcroft v. Iqbal, 556 U.S. 662 (2009) ............................................................................ 4
      6
           Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007) ........................................................... 4
      7

      8    U.S. Circuit Court
      9    Aalmuhammed v. Lee, 202 F.3d 1227 (9th Cir. 2000)..................................................... 5
     10
           Derek Andrew, Inc. v. Poof Apparel Corp. 528 F.3d 696 (9th Cir. 2008) .................... 8-9
     11

     12    Jenkins v. Cnty. of Riverside, 398 F.3d 1093 (9th Cir. 2005) .......................................... 2
     13    Lopez v. Smith, 203 F.3d 1122 (9th Cir. 2000) .............................................................. 10
     14
           Seven Arts Films Entm’t Ltd. v. Content Media Corp. PLC
     15         733 F.3d 1251 (9th Cir. 2013) .................................................................... 1, 2, 5, 6
     16
           Zuill v. Shanahan, 80 F.3d 1366 (9th Cir. 1996) .......................................................... 5, 6
     17

     18    U.S. District Court
     19
           Foster v. City of Fresno, 392 F.Supp.2d 1140 (E.D. Cal. 2005) ...................................... 3
     20
           In re Online DVD Rental Antitrust Litig., No. 09-2029
     21
                  2011 WL 5883772 (N.D. Cal. Nov. 23, 2011) ....................................................... 3
     22
           Krisel v. Contempo Homes, Inc., No. EDCV 06-00507 SGL
     23
                 2006 WL 5668181 (C.D. Cal., Sept. 27, 2006) ...................................................... 9
     24
           Ledesma v. Del Records, Inc., No. 215CV4266ODWGJSX
     25
                2015 WL 8023002 (C.D. Cal., Dec. 4, 2015) ......................................................... 8
     26
           Martin v. Walt Disney Internet Grp., No. 09CV1601-MMA (POR)
     27
                 2010 WL 2634695 (S.D. Cal., June 30, 2010) ....................................................... 8
     28
SINGH,
SINGH &
TRAUBEN,                                                    ii of iii
LLP
                                               TABLE OF CONTENTS AND AUTHORITIES
       Case 8:17-cv-02223-DOC-KES Document 54 Filed 08/13/18 Page 4 of 14 Page ID #:449


      1    Qureshi v. Countrywide Home Loans, Inc., No. 09-4198
      2         2010 WL 841669 (N.D. Cal. March 10, 2010) ...................................................... 2

      3    Ramirez v. Ghilotti Bros. Inc., 941 F. Supp. 2d 1197 (N.D. Cal. 2013) .......................... 2
      4
           Saregama India Ltd. v. Young, No. CV 0219856 RJK
      5          2003 WL 25769784 (C.D. Cal., March 11, 2003).................................................. 9
      6
           Scott v. City of Phoenix, No. CV-09-0875
      7           2011 WL 3159166 (D.Ariz. July 26, 2011)............................................................ 3
      8
           Smith & Hawken, Ltd. v. Gardenance, Inc., No. C04-1664 SBA
      9          2004 WL 2496163 (N.D. Cal., Nov. 5, 2004) ........................................................ 9
     10
           Sportscare of Am., P.C. v. Multiplan, Inc., No. 2:10-4414
     11          2011 WL 589955 (D.N.J. Feb. 10, 2011) ............................................................ 2-3
     12
           Universal Surface Tech., Inc. v. Sae-A Trading Am. Corp.
     13         No. CV 10-6972 CAS (PJWx), 2011 WL 281020 (C.D. Cal. Jan. 26, 2011) ........ 4
     14
           White v. Warner-Tamerlane Publ’g Corp., No. CV 16-5831 PSG
     15         2017 WL 4685542 (C.D. Cal. May 22, 2017) ............................................ 5, 6, 7, 8
     16
           CALIFORNIA CASES
     17

     18    Fox v. Ethicon Endo-Surgery, Inc., 35 Cal.4th 797, 808 (2005) ...................................... 7
     19
           CALIFORNIA CODES
     20
           17 U.S.C. § 411 ............................................................................................................... 10
     21

     22    17 U.S.C. § 412 ......................................................................................................... 2, 8, 9
     23
           17 U.S.C. § 504 ................................................................................................................. 8
     24
           17 U.S.C. § 507(b) ............................................................................................................ 5
     25

     26

     27

     28
SINGH,
SINGH &
TRAUBEN,                                                        iii of iii
LLP
                                                   TABLE OF CONTENTS AND AUTHORITIES
       Case 8:17-cv-02223-DOC-KES Document 54 Filed 08/13/18 Page 5 of 14 Page ID #:450



      1    I.     INTRODUCTION
      2           Counterclaimant Mak’s Opposition to Pham’s Motion to Dismiss the First
      3    Amended Counterclaim for Copyright Infringement (the “Opposition”) fails to provide
      4    any basis for maintaining Mak’s copyright infringement claim. Mak’s Amended
      5    Counterclaim for Copyright Infringement (the “Amended Copyright Claim”) should be
      6    dismissed with prejudice.
      7           First, Mak does not address or dispute that because Pham remains an owner of
      8    Miss Global Organization, LLC (“MGO”) – a fact Mak herself alleges – his use of the
      9    MGO logo to promote MGO cannot be copyright infringement. Instead, Mak
     10    formulaically repeats the mantra that she owns a copyright, and that Pham used it. Use is
     11    not infringement; it has to be an unauthorized use. Mak does not address or oppose the
     12    argument that Pham, as an owner of MGO, cannot infringe his own company’s logo by
     13    using that logo to promote his company. Mak also fails to even hypothesize in the
     14    abstract on how Pham could use MGO’s logo other than in connection with MGO’s
     15    business. Accordingly, when viewed in the context of Mak’s own allegations of
     16    “ownership”, Mak’s Amended Copyright Claim fails.
     17           Second, Mak’s Opposition confirms that her Amended Copyright Claim is time
     18    barred as a matter of law. Mak claims in the Opposition that the trademark Pham
     19    obtained on October 2, 2012 for the MGO logo was registered after her copyright was
     20    created, and hence is proof of infringement. [DE 53 at 8]. The MGO logo that Mak
     21    claims as her “copyright”, and which Pham owns as a trademark, are the exact same
     22    logo design. [DE 50 at 10; DE 52-3 at 2]. As such, the gravamen of Mak’s Amended
     23    Copyright Claim is an ownership dispute, specifically, who among these disputing
     24    parties is entitled to own and use the same logo, whether as a copyright, trademark, or
     25    otherwise.
     26           The Ninth Circuit has made clear that, when claims of both infringement and
     27    ownership are alleged, the infringement is timely only if the corresponding ownership
     28    claim is also timely. Seven Arts Films Entm’t Ltd. v. Content Media Corp. PLC, 733
SINGH,
SINGH &
TRAUBEN,
LLP             REPLY MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO DISMISS COUNTERCLAIM
                                                             CIVIL ACTION NO. 8:17-CV-2223 DOC (KESx) - 1
       Case 8:17-cv-02223-DOC-KES Document 54 Filed 08/13/18 Page 6 of 14 Page ID #:451



      1    F.3d 1251, 1258 (9th Cir. 2013) (“Seven Arts”). Pham disputes Mak’s claim of
      2    “ownership” in MGO’s logo, and Mak was clearly on notice that Pham disputed Mak’s
      3    claim of “ownership” in October 2012 when Pham registered the MGO logo as a design
      4    trademark with the USPTO. Based on Mak’s own allegations in her Amended Copyright
      5    Claim, Pham expressly repudiated Mak’s “ownership” of the copyright in October 2012.
      6    Consequently, the three-year statute of limitations expired in October 2015, several
      7    years before Mak brought this Counterclaim.
      8            Accordingly, Mak’s Amended Copyright Claim must be dismissed as a matter of
      9    law. Seven Arts, 733 F.3d at 1258. The Court has already found the delayed discovery
     10    rule does not apply to Mak based on her lack of diligence in ascertaining clearly
     11    discoverable facts that were easily accessible to her – such as the fact that her “co-
     12    owner” Pham trademarked their company’s logo in his own name. [DE 49 at 8-12].
     13            Finally, Mak does not rebut or even addresses Pham’s argument that under 17
     14    U.S.C. §412(d), Mak is prohibited from recovering statutory damages, “punitive
     15    damages” or attorney’s fees.
     16            Mak’s Amended Copyright Claim should be dismissed in its entirety without
     17    leave to amend.
     18    II.     MAK CONCEDES THAT PHAM IS AN OWNER OF MGO AND THAT
                   PHAM CAN LAWFULLY USE THE MGO LOGO ON BEHALF OF AND
     19
                   FOR THE BENEFIT OF THE COMPANY
     20
                   Mak does not address Pham’s argument that Mak’s claim for copyright
     21
           infringement is in direct conflict with Mak’s allegation that she is a “co-owner” of MGO
     22
           with Pham. Mak thereby effectively concedes that her claim for copyright infringement
     23
           based upon Pham’s use of his own company’s logo is fatally contradictory and facially
     24
           implausible. See Ramirez v. Ghilotti Bros. Inc., 941 F. Supp. 2d 1197, 1210 (N.D. Cal.
     25
           2013) (deeming argument conceded where plaintiff failed to address it in opposition).1
     26
           1
             See also, Qureshi v. Countrywide Home Loans, Inc., No. 09-4198, 2010 WL 841669,
     27    at *6 fn. 2 (N.D. Cal. March 10, 2010) (plaintiff's failure to address, in opposition brief,
     28    claims challenged in a motion to dismiss, constituted an “abandonment of those
SINGH,     claims”) (citing Jenkins v. Cnty of Riverside, 398 F.3d 1093, 1095 fn. 4 (9th Cir.
SINGH &
TRAUBEN,
LLP              REPLY MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO DISMISS COUNTERCLAIM
                                                              CIVIL ACTION NO. 8:17-CV-2223 DOC (KESx) - 2
       Case 8:17-cv-02223-DOC-KES Document 54 Filed 08/13/18 Page 7 of 14 Page ID #:452



      1          Mak concedes that, even accepting all of Mak’s allegations as true, Mak never, at
      2    any time, could or did effectuate a member dissociation of Pham from MGO. In
      3    addition, Mak concedes that Pham was and remains an owner of MGO and that Pham
      4    can lawfully use the MGO logo (trademarked under his own name) on behalf of and/or
      5    for the benefit of the company in his capacity as an owner.
      6          Moreover, Mak alleges in her Amended Copyright Claim that Mak and Pham had
      7    agreed that Pham would register the subject logo with the USPTO in the name of
      8    MGO. (FACC ¶21). Mak also expressly alleges that she created the design and logo for
      9    MGO. (FACC ¶17).
     10          Consequently, in the Opposition, Mak cannot and does not address or oppose the
     11    argument that Pham, as an owner of MGO, cannot infringe his own company’s logo by
     12    using that logo to promote the same company Mak alleges they co-own. Instead, in one
     13    line, Mak mischaracterizes or misconstrues Pham’s Motion to Dismiss by stating that
     14    “Pham rests most of his dismissal on the idea Counter-Claimants [sic] alleged he is
     15    using his own logo.” [DE 53 at 7]. (Emphasis supplied). This is inaccurate and misses
     16    the point. Mak fails to state a claim because the alleged use of the MGO design and logo
     17    for MGO by an owner of MGO cannot constitute copyright infringement. Because
     18    Mak does not allege sufficient facts as to any “violation” by Pham in connection with the
     19    use of the MGO design and logo, Mak cannot allege any infringement of the MGO
     20    design and logo. Consequently, Mak cannot state a claim for relief that is plausible on its
     21

     22    2005); Sportscare of Am., P.C. v. Multiplan, Inc., No. 2:10-4414, 2011 WL 589955, at
           *1 (D.N.J. Feb. 10, 2011) (“[i]n most circumstances, failure to respond in an opposition
     23    brief to an argument put forward in an opening brief constitutes waiver or abandonment
     24    in regard to the uncontested issue.”); Scott v. City of Phoenix, No. CV-09-0875, 2011
           WL 3159166, at *10 (D.Ariz. July 26, 2011) (failure to oppose statute of limitations
     25    argument constituted waiver); Foster v. City of Fresno, 392 F.Supp.2d 1140, 1147 fn. 7
     26    (E.D. Cal. 2005) (“[a]t any rate, failure of a party to address a claim in an opposition to
           a motion for summary judgment may constitute a waiver of that claim.”); In re Online
     27    DVD Rental Antitrust Litig., No. 09-2029, 2011 WL 5883772, at *12 (N.D. Cal. Nov.
     28    23, 2011) (absent unusual circumstances, failure to respond to argument on merits
SINGH,     “viewed as grounds for waiver or concession of the argument”).
SINGH &
TRAUBEN,
LLP            REPLY MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO DISMISS COUNTERCLAIM
                                                            CIVIL ACTION NO. 8:17-CV-2223 DOC (KESx) - 3
       Case 8:17-cv-02223-DOC-KES Document 54 Filed 08/13/18 Page 8 of 14 Page ID #:453



      1    face.
      2    III.     MAK’S OPPOSITION AGAIN RELIES UPON WHOLLY CONCLUSORY
                    LABELS AND FORMULAIC RECITATIONS
      3
                    In her Opposition, Mak again relies upon conclusory statements to support her
      4
           claim, simply quoting from the Amended Copyright Claim to argue that “‘Pham is
      5
           infringing Mak’s copyright by knowingly and willfully using the Work without the
      6
           consent or authorization of Mak.’ (FACC ¶ 40).” [DE 53 at 7]. Mak’s Opposition does
      7
           nothing to counter the argument that the Amended Copyright Claim does not contain
      8
           sufficient facts to state a claim for relief that is plausible on its face. See Universal
      9
           Surface Tech., Inc. v. Sae-A Trading Am. Corp., No. CV 10-6972 CAS (PJWx), 2011
     10
           WL 281020, at *6 (C.D. Cal. Jan. 26, 2011) (granting motion to dismiss copyright claim
     11
           where complaint alleged no facts indicating what acts constituted alleged infringement
     12
           and instead only contained conclusory allegations that defendants “have infringed, and
     13
           continue to infringe plaintiff’s exclusive copyrights by reproducing, preparing derivative
     14
           works of, and distributing infringing copies of” plaintiff’s copyright).
     15
                    Mak’s blanket conclusion that Pham’s use of the MGO logo is without
     16
           authorization and therefore renders Pham liable for damages remains devoid of the
     17
           factual content that Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007) and Ashcroft v.
     18
           Iqbal, 556 U.S. 662 require, including by what specific acts and during what time Pham
     19
           allegedly infringed the copyright. At most, Mak’s allegations of “infringement” are
     20
           conclusory legal allegations cast in the form of factual allegations, restyled to avoid the
     21
           three-year statute of limitations.
     22
           IV.      MAK’S OPPOSITION CONFIRMS THAT THE ENTIRETY OF MAK’S
     23
                    “COPYRIGHT INFRINGEMENT” CLAIM IS TIME BARRED BY THE
     24             THREE-YEAR STATUTE OF LIMITATIONS
     25             In her Opposition, Mak makes clear that the gravamen of her Amended Copyright
     26    Claim is ownership because, as alleged by Mak, Pham’s October 2, 2012 USPTO
     27    Trademark Certificate for the design mark “G MISS GLOBAL” is the basis of her
     28    copyright claim. [DE 53 at 8]. Specifically, in seeking to identify Mak’s non-conclusory
SINGH,
SINGH &
TRAUBEN,
LLP               REPLY MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO DISMISS COUNTERCLAIM
                                                               CIVIL ACTION NO. 8:17-CV-2223 DOC (KESx) - 4
       Case 8:17-cv-02223-DOC-KES Document 54 Filed 08/13/18 Page 9 of 14 Page ID #:454



      1    allegations supporting Mak’s copyright infringement claim, Mak states in her
      2    Opposition that “Mak has properly alleged Pham’s trademark is completely based on
      3    Mak’s design. (FACC ¶ 21.)” [DE 53 at 8]. The MGO logo that Mak claims as her
      4    “copyright”, and which Pham owns as a trademark, are the exact same logo design.
      5    [DE 50 at 10; DE 52-3 at 2]. Accordingly, the gravamen of Mak’s copyright claim is an
      6    ownership dispute - who among these disputing parties is entitled to own and use the
      7    logo, whether as a copyright, trademark, or otherwise.
      8          Unlike “ordinary” copyright infringement claims, however, “claims of co-
      9    ownership, as distinct from claims of infringement,” accrue only once, “when plain and
     10    express repudiation of co-ownership is communicated to the claimant, and are barred
     11    three years from the time of repudiation.” Seven Arts, 733 F.3d at 1254; citing Zuill v.
     12    Shanahan, 80 F.3d 1366, 1369 (9th Cir. 1996); see also Aalmuhammed v. Lee, 202 F.3d
     13    1227, 1230-31 (9th Cir. 2000) (“[Where] creation rather than infringement is the
     14    gravamen of an authorship claim, the claim accrues on account of creation, not
     15    subsequent infringement and is barred three years from ‘plain and express repudiation’
     16    of authorship”).
     17          The recent Central District case of White v. Warner-Tamerlane Publ’g Corp., No.
     18    CV 16-5831 PSG, 2017 WL 4685542 (C.D. Cal. May 22, 2017) is highly instructive. In
     19    White, the plaintiffs asserted copyright infringement and related claims regarding
     20    defendants’ alleged ongoing and continuous infringement of a song owned by plaintiffs.
     21    Specifically, plaintiffs alleged that defendants infringed on plaintiffs’ copyright with a
     22    song defendants created and released in 1993, and continued to exploit. Finding all
     23    plaintiffs’ claims to be barred by the three-year statute of limitations under the Copyright
     24    Act, the court in White granted the defendants’ motion to dismiss the plaintiffs’ first
     25    amended complaint for copyright infringement. White, 2017 WL 4685542, at *4; 17
     26    U.S.C. §507(b).
     27          In granting the defendants’ motion to dismiss with prejudice, the court in White
     28    predominately relied upon the Ninth Circuit case of Seven Arts. Specifically, the court
SINGH,
SINGH &
TRAUBEN,
LLP            REPLY MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO DISMISS COUNTERCLAIM
                                                            CIVIL ACTION NO. 8:17-CV-2223 DOC (KESx) - 5
       Case 8:17-cv-02223-DOC-KES Document 54 Filed 08/13/18 Page 10 of 14 Page ID #:455



      1    distilled the Ninth Circuit’s determination as to gravamen of a copyright claim being
      2    ownership, and not infringement, to an examination of three factors. As the court in
      3    White noted, the first factor the Ninth Circuit stressed was the “close relationship”
      4    between the plaintiff and the defendant, particularly where the parties had entered into
      5    an agreement regarding the subject copyrights more than three years prior to the action.
      6    The second factor was whether the defendant had “repudiated” the plaintiffs’ ownership
      7    interest in the subject copyrights. Finally, the third factor upon which the Ninth Circuit
      8    focused involved the “inequities” of allowing the plaintiff to proceed with its claims
      9    after so much time had passed:
     10          [A]llowing infringement claims to establish ownership where a freestanding
                 ownership claim would be time-barred would permit plaintiffs to skirt the
     11
                 statute of limitations for ownership claims and lead to results that are
     12          ‘potentially bizarre,’ 3 Nimmer & Nimmer, Nimmer on Copyright,§
                 12.05[C][3]. An alternative approach would allow plaintiffs who claim to be
     13
                 owners, but who are time-barred from pursuing their ownership claims
     14          forthrightly, simply to restyle their claims as “infringement” and proceed
                 without restriction. Such would negate our reasoning in Zuill —
     15
                       ‘It is inequitable to allow the putative co-owner to lie in the
     16
                       weeds for years after his claim has been repudiated, while large
     17                amounts of money are spent developing a market for the
                       copyrighted material, and then pounce on the prize after it has
     18
                       been brought in by another's effort.’
     19
           Seven Arts, 733 F.3d at 1255; quoting Zuill, 80 F.3d at 1370-71. (Emphasis supplied).
     20
                 This is precisely the case here. Mak’s purported copyright claim is based upon
     21
           “Pham’s trademark” being “completely based on Mak’s design.” [DE 53 at 8]. Mak has
     22
           hence confirmed that the gravamen of her Amended Copyright Claim relates to the
     23
           ownership of the MGO logo, not infringement, and an application of the three factors in
     24
           Seven Arts cements this conclusion.
     25
                 First, according to Mak’s own allegations, Mak and Pham were unequivocally in a
     26
           “close relationship”, allegedly entering into a direct agreement to co-found and equally
     27
           own MGO. (FACC ¶¶14-15).
     28
SINGH,
SINGH &
TRAUBEN,
LLP            REPLY MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO DISMISS COUNTERCLAIM
                                                            CIVIL ACTION NO. 8:17-CV-2223 DOC (KESx) - 6
       Case 8:17-cv-02223-DOC-KES Document 54 Filed 08/13/18 Page 11 of 14 Page ID #:456



      1          Second, Pham clearly repudiated Mak’s ownership interest in the subject logo
      2    when, on October 2, 2012, Pham obtained a USPTO Trademark Certificate for the
      3    design mark “G MISS GLOBAL” with Registration No. 4,219,443, which affirms that
      4    Pham first used “G MISS GLOBAL” as early as May 7, 2012. [DE 52 at Exs. “3”-“4”].2
      5    For instance, in White, the court found that defendants clearly repudiated plaintiff’s
      6    ownership rights by registering their own copyright in the allegedly infringing song of
      7    the same name. Similarly, here, Pham’s registration of his trademark in 2012 for the
      8    same logo/design in which Mak now claims to own the copyright operates as a
      9    repudiation of Mak’s ownership. Just as the plaintiffs in White, and as the Honorable
     10    Court has already found, Mak fails to plead sufficient facts to demonstrate that she had
     11    no means from which to discover Pham’s USPTO Trademark Registration for the “Miss
     12    Global” design. [DE 49 at 10].3 To the contrary, as in White, Mak alleges to have entered
     13    into an agreement with Pham, alleges to have known in 2012 that Pham registered a
     14    trademark in the logo Mak now claims to own, and alleges that she was not only an
     15    associate of Pham, as was the case in White, but that she was a co-owner of MGO with
     16    Pham for approximately seven years. (FACC ¶¶10-21).
     17          Third, as set forth above, allowing Mak’s purported “infringement” claim to
     18    establish ownership where a freestanding ownership claim would be time-barred would
     19    permit Mak to bypass the statute of limitations for ownership claims and lead to a bizarre
     20
           2
     21     Counterclaimants do not contest Pham’s Request for Judicial Notice of the six publicly
           available exhibits, including the two USPTO Office Certificates of Trademark
     22
           Registrations and two screenshots of the USPTO Website of the Miss Global Mark and
     23    G Miss Global mark. [DE 52]. Each of these exhibits existed in the public record and
           were, at all times relevant, available to Mak, who was aware of their existence.
     24
           3
              Once again, Mak does not include any allegations within the First Amended
     25    Counterclaim sufficient to suggest that she was reasonably diligent in investigating the
     26    cause of her purported injury, which again includes Pham’s 2012 USPTO Trademark
           Registration for the “Miss Global” design. See Fox v. Ethicon Endo-Surgery, Inc., 35
     27    Cal.4th 797, 808 (2005) (“plaintiffs are charged with presumptive knowledge of an
     28    injury if they have information of circumstances to put [them] on inquiry or if they have
SINGH,     the opportunity to obtain knowledge from sources open to [their] investigation”).
SINGH &
TRAUBEN,
LLP            REPLY MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO DISMISS COUNTERCLAIM
                                                            CIVIL ACTION NO. 8:17-CV-2223 DOC (KESx) - 7
       Case 8:17-cv-02223-DOC-KES Document 54 Filed 08/13/18 Page 12 of 14 Page ID #:457



      1    result, particularly where, as here, Mak has alleged Pham always was and remains an
      2    owner of the company for which Mak allegedly created the subject logo, that being
      3    MGO. (FACC ¶17).
      4           Just as in White, the purported dispute Mak has engendered would revolve around
      5    the parties’ alleged agreement in 2011, including a determination as to the lawful owner
      6    of the logo, especially where, as in White, the “Work” at issue is virtually the same.
      7    Clearly, as in White, the gravamen of the Amended Copyright Claim is the ownership of
      8    the MGO logo, and the three-year statute of limitations from the date of repudiation
      9    (October 2012) applies.
     10           Because Mak’s claim accrued, at the latest, in October 2012, and Mak did not file
     11    this action until 2017, Mak’s purported claim for copyright infringement is barred by the
     12    three-year statute of limitations.
     13    V.     MAK NEITHER REBUTS NOR ADDRESSES THE ARGUMENT THAT
                  MAK IS PROHIBITED FROM RECOVERING STATUTORY DAMAGES
     14
                  OR ATTORNEY’S FEES
     15
                  In her Opposition, Mak does not contest that under the Copyright Act, a plaintiff
     16
           cannot “state[] a claim for statutory damages and attorney’s fees” absent a timely, valid
     17
           U.S. registration. Martin v. Walt Disney Internet Grp., No. 09CV1601-MMA (POR),
     18
           2010 WL 2634695, at *3 (S.D. Cal., June 30, 2010). Mak also does not contest that
     19
           “courts routinely decide whether such remedies are available under the Copyright Act
     20
           on a 12(b)(6) motion.” (Id.).
     21
                  Likewise, Mak does not contest that 17 U.S.C. § 412 prohibits recovery of
     22

     23
           statutory damages and attorneys’ fees unless a work was registered (a) before the

     24    infringement commenced or (b) within three months after its first publication. Derek

     25    Andrew, Inc. v. Poof Apparel Corp. (9th Cir. 2008) 528 F.3d 696, 699.

     26           Mak further does not contest that under 17 U.S.C. § 504, “in order to recover
     27    statutory damages, the copyrighted work must have been registered prior to
     28    commencement of the infringement.” Ledesma v. Del Records, Inc., No.
SINGH,
SINGH &
TRAUBEN,
LLP             REPLY MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO DISMISS COUNTERCLAIM
                                                             CIVIL ACTION NO. 8:17-CV-2223 DOC (KESx) - 8
       Case 8:17-cv-02223-DOC-KES Document 54 Filed 08/13/18 Page 13 of 14 Page ID #:458



      1    215CV4266ODWGJSX, 2015 WL 8023002, at *3 (C.D. Cal., Dec. 4, 2015); quoting
      2    Derek Andrew, Inc., 528 F.3d at 701 (plaintiff could not recover statutory damages
      3    where allegedly infringing activity commenced before the effective registration date).
      4            Instead, without any authority, and seemingly in a state of misunderstanding as to
      5
           the implication of 17 U.S.C. § 412, Counterclaimant Mak tacitly suggests that she is
      6
           somehow entitled to statutory damages, punitive damages, and attorney’s fees for “acts”
      7
           committed subsequent to the date of “registration” of the mark. [DE 53 at 8]. This is not
      8
           the law. To the contrary, as the Ninth Circuit held in Derek Andrew, Inc., “the first act
      9
           of infringement in a series of ongoing infringements of the same kind marks the
     10
           commencement of one continuing infringement under § 412.” Derek Andrew, Inc., 528
     11
           F.3d at 701 (party not entitled to statutory damages or attorney’s fees where alleged
     12
           infringement commenced prior to the registration date). (Emphasis in original).
     13

     14
                   Finally, Mak does not contest that “punitive” damages are not available under the

     15    Copyright Act. Krisel v. Contempo Homes, Inc., No. EDCV 06-00507 SGL, 2006 WL

     16    5668181, at *3 (C.D. Cal., Sept. 27, 2006); Smith & Hawken, Ltd. v. Gardenance, Inc.,
     17    No. C04-1664 SBA, 2004 WL 2496163, at *10 (N.D. Cal., Nov. 5, 2004); Saregama
     18    India Ltd. v. Young, No. CV 0219856 RJK, 2003 WL 25769784, at *1 (C.D. Cal.,
     19    March 11, 2003).
     20            Accordingly, in the alternative, Counter-Defendant Pham respectfully requests
     21    that the Court dismiss Counterclaimant Mak’s request for statutory damages, attorneys’
     22    fees and punitive damages within the Amended Copyright Claim’s Prayer for Relief.
     23    VI.     MAK SHOULD NOT BE GRANTED LEAVE TO AMEND
     24            In Mak’s Opposition to Pham’s Motion to Dismiss Mak’s initial Counterclaim,
     25    Mak conceded that she had not alleged that she had submitted a copyright application to
     26    the Copyright Office. [DE 41 at 26-27]. Instead, in this first Opposition, Mak requested
     27    leave to amend, citing a string of three cases making plain that a failure to allege
     28    registration is a pleading defect requiring dismissal, but one that can be cured by the
SINGH,
SINGH &
TRAUBEN,
LLP              REPLY MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO DISMISS COUNTERCLAIM
                                                              CIVIL ACTION NO. 8:17-CV-2223 DOC (KESx) - 9
       Case 8:17-cv-02223-DOC-KES Document 54 Filed 08/13/18 Page 14 of 14 Page ID #:459



      1    filing of an amended complaint pleading facts sufficient to satisfy the registration
      2    requirement of 17 U.S.C. §411(a). [DE 41 at 27].
      3          Now, further underscoring Mak’s general insouciance and lack of belief in her
      4    own contrived claim, in again seeking leave to amend in the event the Court finds Mak’s
      5    copyright infringement claim defective, Mak copy and pastes the same string of three
      6    cases related to the failure to allege “registration” of a copyright being curable, an issue
      7    not relevant to the current fatal defects plaguing Mak’s claim. [DE 53 at 9]. As Mak’s
      8    Amended Copyright Claim is time-barred as a matter of law, Mak should not be granted
      9    leave to amend. See Lopez v. Smith, 203 F.3d 1122, 1129 (9th Cir. 2000) (no
     10    requirement under Ninth Circuit case law to grant leave to amend if complaint lacks
     11    merit entirely and cannot be saved).
     12    VII. CONCLUSION
     13          For the reasons set forth above, Plaintiff/Counter-Defendant Van Pham
     14    respectfully requests that the Court grant his Motion to Dismiss Counterclaimant Mak’s
     15    First Amended Counterclaim for Copyright Infringement with prejudice, or in the
     16    alternative, dismiss the First Amended Counterclaim’s request for statutory damages,
     17    punitive damages and attorneys’ fees.
     18    DATED: August 13, 2018                  Respectfully submitted,
     19
                                                   SINGH, SINGH & TRAUBEN, LLP
     20                                            MICHAEL A. TRAUBEN
     21

     22                                            By:   /s/ Michael A. Trauben
     23
                                                          Michael A. Trauben

     24                                            Attorneys for Plaintiff MISS GLOBAL
     25                                            ORGANIZATION LLC and Plaintiff/Counter-
                                                   Defendant VAN PHAM
     26

     27

     28
SINGH,
SINGH &
TRAUBEN,
LLP            REPLY MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO DISMISS COUNTERCLAIM
                                                           CIVIL ACTION NO. 8:17-CV-2223 DOC (KESx) - 10
